  Case 9:18-cv-80576-RLR Document 1-1 Entered on FLSD Docket 05/03/2018 Page 1 of 33

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         IN THE CIRCUIT COURT OF THE
         FIFTEENTH JUDICIAL CIRCUIT
         TN AND FOR PALM BEACH COUNTY
         FLORIDA

         CASE NO.:

         HARVEY GARBER, M.D.,

                 Plaintiff,

         v.
        CITY OF BOYNTON BEACH, JEFFREY KATZ,
        as CHIEF OF POLICE OF BOYNTON BEACH
        POLICE DEPARTMENT, and
        OFFICER JANELLE JUMELLES, individually,
        OFFICER EVAN ESTEVES, individually,
        OFFICER JOHN DUNLOP, individually, and
        OFFICERPETERZAMPINI, individually,

                Defendants.



                               COMPLAINT AND DEMAND FOR JURY TRIAL

                Plaintiff, HARVEY GARBER, M.D., (hereinafter "Plaintiff'), sues Defendants, CITY

        OF BOYNTON BEACH, JEFFREY KATZ as Chief of Police of Boynton Beach Police

        Department, OFFICER JANELLE JUMELLES, individually, OFFICER EVAN ESTEVES,

        individually, OFFICER JOHN DUNLOP, individually, and OFFICER PETER ZAMPINI,

        individually for damages, arid states:


                               INTRODUCTION JURISDICTION AND VENUE

                1.      This is an action for damages and attorneys' fees arising under 42 U.S.C. §1983

        and § t 988, as well as assault and battery.

                                                       1




                                                                                                    EXHIBIT

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              2.      This is an action for damages in excess of fifteen thousand ($15,000.00) dollars.

              3.      The acts, omissions and practices described hereafter all occurred within the

      jurisdiction of the Fifteenth Judicial Circuit of Palm Beach County; Florida.

              4.      Plaintiff seeks an award of compensatory damages, costs and expenses and

      reasonable attorneys' fees pursuant to 42 U.S.C. §1983, more specifically described below. Fee
      entitlement is alleged pursuant to 42 U.S.C. § 1988.

              5.     At all times material hereto, the acts, omissions, practices and conduct of the

      Defendants were committed under color of state or local law.

              6.     That afl parties to this case are residents of Palm Beach County, Florida.

                                                   THE PARTIES
             1.      At all times material hereto, Plaintiff, who is sui juris, brings this action against

      the Defendants in his individual capacity.

             8.      Defendant, CITY OF BOYNTON BEACH, (Hereinafter "BOYNTON"). is a

      municipal corporation formed pursuant to the laws of the State of Florida, located within the

      confines of Palm Beach Coµnty, Florida. A part of its business is to protect the health, welfare,

      and well ..being of its residents and citizens the city operates and maintains a police department

      and employs a number ofindividuals as police officers.

             9.      At all times material hereto, Defendant BOYNTON, was and is responsible for

     the operation, administration, management and oversight of all activities involving the Boynton

     Beach Police Department and its employees.

             l O.   At all times material hereto, the acts and omissions of JEFFREY KATZ,

     (hereinafter: KATZ) were committed within the course and scope of his employment as Chief of

     Police of Boynton Beach Police Department(hereinafter: BBPD).

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              11.     At all times material hereto, KATZ; in his official capacity as Chief of Police of

      Boynton Beach Police Department, was and is a "person" subject to suit under 42 U.S.C. §1983,

      He is sued solely in his official capacity.

              12.    At all times material hereto, Defendant KATZ, through his agents and employees,

      was responsible for the proper and efficient enforcement of the laws, regulations, policies,

      customs, practices and procedures of such political entity; the laws of the State of Florida; and

      the Constitution of the United States.

              13.    AH of the individual police officer Defendants to this claim are persons for

      purposes of 42 U.S.C. §1983, and are sued solely in their official capacity.

             14.     Officer JANELLE JUMBLLES (hereinafter: JUMELLES) is a citizen of the

      United States and a resident· of the State of Florida employed as an officer with BBPD. She

      works under the supervision and control of KATZ.

             15.     Officer EVAN ESTEVES (hereinafter: ESTEVES) is a citizen of the United

      States and a. resident of the State of Florida. employed as an officer with BBPD. He works under

      the supervision and control of KATZ.

             16.     Officer JOHN DUNLOP (hereinafter: DUNLOP) is a citizen of the United States

     and a resident of the State of Florida employed as an officer with BBPD. He works under the

     supervision and control of KATZ.

             17.    Officer PETER ZAMPJNI (hereinafter: ZAMPINI) is a citizen of the United

     States and a resident of the State of Florida employed as an officer with BBPD. He works under

     the supervision and control of KATZ.

            18.     Plaintiff has retained the services of the undersigned and is obligated to pay a

     reasonable attorney's fee for such services in pursuing the claims asserted herein.

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              19.    That all conditions precedent to filing this action have occurred or have otherwise
      been satisfied including all notice provisions pursuant to Fla. Stat. §768.28.

                                                      FACTS

              20.    On or about June 5,    2017~   at approximately 3:1Q p.m.1 OFFICER JUMELLES,

      OFFICER ESTEVES, OFflCER LEVINE, CS! MCKINLAY, DETECTIVE ZAMPINI and

      SGT. DUNLOP, of the BOYNTON BEACH POLICE DEPARTMENT, acting under the color

      of state law, were dispatched to the scene of a possible death investigation pertaining to Rebecca

      Leigh Garber at 1805 Coastal Bay Boulevard, Boynton Beach, Palm Beach County, Florida.

             21.     The Plaintiff and father of Rebecca Leigh Garber, HARVEY GARBER, M.D.,

      arrived at the scene of the investigation shortly after the police arrived and was allowed by the

      Boynton Beach Police officers to go into the house and upstairs to see his deceased daughter.

             22.     Distraught with grief, Dr. Garber was permitted to stay in the hallway outside the

      door to the bathroom where his daughter's body was located. ShortJy thereafter, however,

      officers deeided they wanted Dr. Garber to relocate to another room.

             23.    While standing approximately ten feet from h1s daughter's body, the Plaintiff, Dr.

     Garber, was attacked physically, shoved and pushed away from the scene by officers ZAMPINI,

     JUMELLES, DUNLOP and ESTEVES.

             24.    Once Plaintiff had been removed from· the area, Officers ZAMPINJ, JUMELLES,

     DUNLOP and ESTEVES, held PJaintiff down while Officer ESTEVES repeatedly kicked his

     legs. The officers then violently slammed Dr. Garber to the floor using the weight of their own

     bodies on top of him. Dr. Garber's arms were then forced behind his back and he was

     handcuffed.



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                 25.    As a consequence of the actions of Officers ZAMPINI, JUMELLES, DUNLOP

      and ESTEVES, Dr. Garber sustained multiple significant injuries.

                           QOUNT I VIOLATION OF CIVIL RIGHTS-42                 as.c. §198J
                       §xces1lve Force In vlolat/oa ofthe Fourth and Fourteenth Amendments
                       (Against Defendants JUMELLES, ESTEVES, DUNLOP and ZAMPINI)

          Plaintiff hereby incorporates all other paragraphs of this Complaint as if fully set forth

      herei11.

                 26.    42 U.S.C. § 1983 provides that:

                       Every person, who under color of any statute, ordinance, regulation,
                       custom or usage of any state or territory or the District of Columbia
                       subjects or causes to be subjected any citizen of the United States or other
                       person within the jurisdiction thereof to the deprivation of atty rights,
                       privileges or immunities secured by the (:Onstitution and law shall be liable
                       to the party injured in an action at law, suit in equity, or other appropriate
                       proceeding for redress , .•

                 27.   Plaintiff in this action is a citizen of the United States and all of the individual

      police officer Defendants to ·this claim are persons for purposes of 42 U.S.C. § 1983.

                 28.   All individual Defendants to this claim, at all times relevant hereto, were acting
     under the color of state law in their capacity as BBPD police officers and their acts or omissions

     were conducted within the scope of their official duties or employment. At the time of the

     complained of events, Plaintiff had a clearly established constitutional right under the Fourth

     Amendment to he secure in his person from unreasonable seizure through excessive force.

             29.       Plaintiff also had the clearly established Constitutional right under the Fourteenth

     Amendment to bodily integrity and to be free from excessive force by law enforcement.

             30.       Any reasonable police officer knew or should have known of these rights at the

     time of the complained of conduct as they were clearly established at that time.



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               31.    Defendants JUMELLES, ESTEVES. DUNLOP and ZAMPINl'S actions and use

      of force, as described herein, were objectively unreasonable in light of the facts and

      circumstances confronting them and violated these Fourth Amendment rights of Plaintiff.

              32.     Defendants JUMELLES, ESTEVES, DUNLOP and ZAMPINI's actions and use

      of force, as described herein, were also malicious and/or involved reckless, callous, and

      deliberate indifference to Dr. Garber's federally protected rights. The force used by these

      Defendant officers shocks the conscience and violated these Fourteenth Amendment rights of

      Plaintiff.

              33.     Defendants JUMELLES, ESTEVES, DUNLOP and ZAMPINI unlawfully seized

      Dr. Garber by means of objectively unreasonable, excessive and conscious shocking physical

      force, thereby unreasonably restraining Dr. Garber of his freedom.

              34.    None of the Defendant officers took reasonable steps to protect Plaintiff from the

      objectively unreasonable and conscience shocking excessive force of other Defendant officers or

      from the excessive force of later responding officers despite being in a position to do so. They

     are each therefore liable for the injuries and damages resultingfrom the objectively unreasonable

     and conscience shocking force of each other officer.

             3S.     Defendants engaged in the conduct described by this Complaint willfully,

     maliciously, in bad faith, and in reckless disregard of Dr. Garber's federaUy protected

     constitutional rights.

             36.     They did so with shocking and willful indifference to Plaintiff's rights and their

     conscious awareness that they would cause Plaintiff severe physical and emotional injuries.

             37.     The acts or omissions of all· individual Defendants were moving forces behind

     Plaintifrs injuries.
                                                     6
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              38.     These individual Defendantsactedin concert and joint action with each other.

              39.     The acts or omissions of Defendants as described herein intentionally deprived

      Plaintiff of his constitutional rights and caused him other damages.

              40.     These individual Defendants are not entitled to qualified immunity for the

      complained of conduct.

              41.     The Defendants to this claim at all times relevant hereto were acting pursuant to

      municipal/city custom, policy, decision, ordinance, regulation, widespread habit, usage,          or
      practice in their actions pertaining to Plaintiff.

              42.     As a proximate result of Defendants' unlawful conduct, Plaintiff has suffered

      actual physical and emotional injuries, aggravation of     pre~existing   conditions, bodily injury,

      resulting pain and suffering, disability, disfigurement, mental anguish, loss of the capacity to

     enjoy life, and other damages and losses as described herein entitling him to compensatory and

     special damages. As a further result of the Defendants' unlawful conduct, Plaintiff has incurred

     special drunages1 including medically related expenses and may continue to incur further

     medically and other special damages related expenses, and all of these damages will continue

     into the future, to wit: pennanently.

             43,     On infonnation and belief, Plaintiff has suffered lost income and may suffer lost

     future earnings and impaired earnings capacities from the not yet fully ascertained sequelae of

     his closed head injury and hand injuries as he is an operating surgeon. Plaintiff is further entitled

     to attorneys; fees and costs pursuant to 42 U.S.C. §1988, pre-judgment interest and costs as

     allowable by federal law. There may also be special damages for lien interests.

             44.     In addition to compensatory, economic, consequential and special damages,

     Plaintiff is entitled to punitive·damages against each of the individually named Defendants under

                                                           7
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      42 U.S.C. §1983, in that the actions of each of these individual Defendants have been taken

      maliciously, willfully cor with a reckless or wanton disregard of the constitutional rights of

      Plaintiff.

              WHEREFORE, Plaintiff; HARVEY GARBER, M.D., demands judgment against the

      Defendants, OFFICER JANELLE JUMELLES, OFFICER EV AN ESTEVES, OFFICER JOHN

      DUNLOP, and ORFICER PETER ZAMPINI, for compensatory damages, interest, attorneys;

      fees, and costs and further demands trlal by jury.



                    COUNTU JllOLATIOJX OF ClYIL RIGHT$-42 f4S.C. §1283
                    Deliberatelv. Indifkrent Policies, Prqctices, Customs, Training,,
              qndSupervision in violatlgn oftlte Fourth. Fourteenth; and First Amemfments
                    (against Defendants CITY OF BOYNTON BEACH and KATZ)

         Plainti/J realleges and incot'porates by reference ALL Paragraphs, above, as though fully set
     forth herein.

             45.     42 U.S.C. §1983 provides that:

                     Every person, who under color of any statute, ordinance, regulation,
                     custom or usage of any state or territory or the District of Columbia
                     subjects or causes to be subjected any citizen of the United States or other
                     person within the jurisdiction thereof to the deprivation of any rights,
                     privileges or immunities secured by the constitution and law shall be liable
                     to the party injured in an action at law, suit in equity, or other appropriate
                     proceeding for redress ...

             46.     Plaintiff in this action is a citizen of the United States and Defendants to this

     claim are persons for purposes of 42 U.S.C. § 1983.

             47.     The Defendants to this claim at all times relevant hereto were acting under the

     color of state law.

            48.      Plaintiff had the following clearly established rights at the time of the complained


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      of conduct:

              a. the right to be secure in his person from unreasonable seizure through excessive force,
              under the Fourth Amendment;
              b. the right to bodily integrity and to be free from excessive force by law enforcement
              under the Fourteenth Amendment;
              c. the right to exercise his constitutional rights of free speech under the First Amendment
              without retaliation; and,
             d. the right to be free from malicious prosecution under the Fourth and Fourteenth
             Amendments.
             49.     Defendant KATZ and Defendant City knew or should have known of these rights

      at the time of the complained of conduct as they were clearly established at that time.

             50.     The acts or omissions of these Defendants, as described        herein~   deprived Dr.

      Garber of his constitutional and statutory rights and caused him other damages.

             51.     The acts or omissions of Defendants as described herein intentionally deprived

      Plaintiff of his constitutional and statutory rights and caused him other damages.

             52.     Defendants are not entitled to qualified immunity for the complained of conduct.

             53.     Defendant KATZ and Defendant BOYNTON were, at all times relevant,

     policymakers for the City of Boynton Beach and the Boynton Beach Police Department, and in

     that capacity established policies, procedures1 customs, and/or practices for the same.

             54.    These Defendants developed and maintained policies, procedures, customs,

     and/or practices exhibiting deliberate indifference to the constitutional rights of citizens, which

     were moving forces behind and proximately caused the violations of Dr. Garber's constitutional

     '1nd federal rights as set forth herein and in the other claims, resulted from a conscious or
     deliberate choice to follow a course of action from among various available alternatives.

            55.     Defendant KATZ and the Defendant BOYNTON have created and tolerated an

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          atmosphere of lawlessness, ~nd have developed and maintained                      long~standing,    departmentwwide

          customs, law enfot'cement· related policies, procedures, customs, practices, and/or failed to

          properly train and/or stipervise its officers in a mannet' amounting to deliberate indifference to

          the Constitutional rights of Plaintiff and of the public.

                   56.       In light of the duties and responsibilities of those police officers that participate in

          arrests and preparation of police repo1ts on alleged crimes, the need for specialized training and

          supervision is so obvious, and the inadequacy of training and/or supervision is so likely to result

          in the violation of constitutional and federal rights such as those described herein that the failure

          to provide such spechilized training and supervision is deliberately indifferent to those rights.

                   57.       Boynton Beach Pollce Department has approximately l 50 officers yet public
          reports in recent years reveal the following:

                         a. In 2013, video published on line show officers slapping a cellphone out of the
                            hands of a motorist duifog a traffic stop before pulling him from his car,
                            slamming him to the ground and cuffing him with a knee in his back. Another
                            officet' atthe scene pulled his gun on a 1x1ssenge1· in the car and. stated ''I' fl f---ing
                            put a round in your ass quick." BBPD claimed the officers were justified in their
                            actions. 1

                         b. In 2014, a video was published online showing a Boynton Beach Police officer
                            putting a seventh grnde student in a chokehold and another officer kicking the
                            student it1 the legs causing him to fall violently backwards to the ground while his
                            hands were cuffod behind his back. The child had t'eportedly misbehaved on the
                            school bus. 2

                         c. In 2014, a Boynton Beach Police officer raped a 20-year-old woman at gunpoint
                            on the hood of his marked police car afterward telling her he would kill her and
                            her family if she told anyone. 3

                      d. In 2017, video published on line showed an officer, who appeared to be unde1· the

       1
          http;//www,browardpnlmbench.eot11/news/bovriton-beach·Officer-who-pullgd-gun·on·st1spcct·video·recording-
       hlnH:lean:;d·b.J:..departrnent-update-6497343 {retrieved March 15, 2018),
      'https://www.p;1lmbcughftQfil..om/bovntot'rufL (retrieved March 15, 2018).
          1l1112s://www.plll1nbci1ehpost.com/11ews/cl'inrn--h1w/boynton·bcach·chict~djsturbctl·a11d·dis1iusted·ofllcer·taPe­
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      nndlngs/Wc lxWpznwljpGJfVPl3sHTHN/ (retrieved March 15, 20 l $).
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                            influence of alcohol, engage in a confrontation with a bar owner in Palm Beach
                            county during which he stated "l 'm gonna tell you right now I'll smoke-check
                            you right here in the bar, I don't give a f-·~·. Right? You can say whatever you
                            want to say, but Jive done it before" ... "You can actthe fool all you want. l'll f--·
                            ing b-·· smack you all the way out to the parking lot.'! Thereafter, the officer left
                            without paying his tab and drove off in a ll'larked BBPD vehicle. The officer was
                            placed on leave but was not charged and is still a BBPD offtcer.4

                        e. In June of 2017 a federal grand jury indicted a Boynton Beach Police supervisor
                           and three officers for unlawfolly assaulting an a1'restee dudng a traffic stop and
                           then filing false reports of the incident. 5 Sergeant Philip Antico was convicted for
                           obstruction of justice and Officer Michael Brown was convicted of using
                           excessive force and using a firearm during a crime of violence for repeatedly
                           stdking an arrestee multiple times while holding his firearm after that traffic
                           stop.6        .

                  58.       The deliberately indiffot·ent tmining and supervision provided by Defendant City

          and Defendant KATZ resulted from a conscious or deliberate choke to follow a course of action

          from among various alternatives available to Defendant City and Defendant KATZ and were

          moving forces in the constitulional and fedeml violation injuries complained of by Plain ti ff.

                 59,       As a proximate result of Defendants' unlawful conduct, Plaintiff has suffered

      actual physical and emotional injuries, aggravation of pre-existing conditions, bodily injury,

      tesulting pain and suffering, disability, disfigurement, mental                           ~mguish,      loss of the capacity to

      enjoy life, and other damages and losses as described herein entitling him to compeosatory and

      special damages. As a further result of the Defendants' unlawful conduct, Plaintiff has incurred

      special damages, includitrg mGdically related expenses and may continue to incur further

      medically and other special. dai11ages related expenses, and all of these damages will continue

      into the future, to wit: permanently.

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      lli.r.~:agai ns.1 (retrieved March 15, 2018).
      "https://www.justice.g<W/usao-sdl1/pr/boyl1ton·bcnch-o(ficcrs·co11victed·usln1,t-cxccssive-forcc-ngal11st-arrcstee·and·
      obstructiOll (retrieved March 15, 2018).
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               60.    On information and    beliet~   Plaintiff has suffered lost income and may suffer lost

       future earnings and Impaired earnings capacities from the not yet fully asce1tained sequelae of

       his head and hand injuries as he is an operating surgeon. Plaintiff is further entitled to   attorneys~

       fees and costs pursuant to 42 U.S.C. §1988;         pre~judgment   interest and costs as allowable by

       federal Jaw. The1·e may also be special damages for lien interest

              WHEREFORE, Plainliff; HARVEY GARBER; M.D., demands judgment against the

       Defendants, CITY OF BOYNTON BEACH AND JEFFREY KATZ, for compensatory damages>

       interest. attorneys' foes, and costs and such other and further demands trial by jury.

                          /YM                        J .Jil,'
                                                 ~~
                                                 t
              Dated this ({}       day of    {                             2018.



                                                        SCHULER HALVORSON WElSSERj
                                                        ZOELLER & OVERBECK, P.A.
                                                        Attorneys for Plaintiftls)
                                                        1615 Forum Place, Sulte4-D
                                                        Barristers Bui Iding
                                                        West Palm Beach, FL 3340 I
                                                        Telephone: 561--689-8180
                                                        Facsimile:      561-684-9683



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     State of Florida                                        County of Palm Beach                                                      Circuit Court

     Case Number: 502018CA00426 MB

     Plaintiff:                                                                                                  1111111111111111111111111111111111111
     HARVEY GARBER, M.D.                                                                                                  MLS2018001526
     vs.
     Defendant:
     CITY OF BOYNTON BEACH, JEFFREY KATZ, AS CHIEF OF POLICE OF
     BOYNTON BEACH POLICE DEPARTMENT, AND OFFICER JANELLE
     JUMELLES, INDIVIDUALLY; OFFICER EVAN ESTEVES, INDIVIDUALLY,
     OFFICER JOHN DUNLOP, INDIVIDUALLY, AND OFFICER PETER
     ZAMPINI, INDlVIDUALLY

     For:
     Richard D. Schuler
     SCHULER, HALVORSON & WEISSER, P.A.
     1615 Forum Place
     4th Floor
     Vl/estPalmBeach,FL 33401

     Received by MULBERRY LEGAL SERVICES, INC. on the 12th day of April, 2018 at 4:08 pm to be served on CITY
     OF BOYNTON BEACH BY SERVING, MAYOR STEVEN B. GRANT, 100 EAST BOYNTON BEACH BLVD.,
     BOYNTON BEACH, FL 33435.

     I, Ronald Jobst, do hereby affirm that on the 13th day of April, 2018 at 2:16 pm, I:

     served a GOVERNMENT AGENCY by delivering a true copy of the SUMMONS; COMPLAINT AND DEMAND
     FOR JURY TRIAL; with the date and hour of service endorsed thereon by me, to: LYNN SWANSON as
     PARALEGAL for CITY OF BOYNTON aEACH BY SERVING, MAYOR STEVEN B. GRANT, at the address of:
     100 EAST BOYNTON BEACH BLVD., BOYNTON BEACH, FL 334351 and informed said person of the contents
     therein, in compliance with State Statutes.

     Description of Person Served: Age: 48, Sex: F, Race/Skin Color: WHITE, Height: 5'4", VI/eight: 145, Hair:
     BLACK, Glasses: N

     I certify that I am over the age of 18, have no interest in the above action, and am a Certified Process Server, in
     good standing, in the judicial circuitin which the process was served. Under penalty of perjury, I declare that I have
     read the foregoing document, and that the facts stated in it are true. NO NOTARY REQUIRED PURSUANT TO
     F.S. 92.525(2).




                                                                                 MULBERRY LEGAL SERVICES, INC.
                                                                                 2101 Vista Parkway
                                                                                 Suite 103
                                                                                 West Palm Beach, FL 33411
                                                                                 (561) 624-0526
                                                                                 Our Job Serial Number: MLS~2018001526


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   Y.       ·,J                                 .

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                  IN THE CIRCWT COURT OF THE
                  FlFTEENTH JUDICIAL CIRCUIT
                  IN AND FOR PAI.MBEACH COUNTY
                  FLORIDA

                  CASE NO.: 2018 CA4260

                  HARVEY GARBER, M.D.,

                          Plaintiff,

                  v.
                  CIT'Y OF BOYNTON BEACH, JEFFREY .KATZ,
                  as CHIEF OF POLICE OF BOYNTON BEACH
                  POLICE DEPAR1MENT, and
                  OF1'1CER JANELLE JUMELLES, individually,
                  OFFICER EVAN ESTEVES, individually,
                  OFFICER JOHN DUNLOP, individually, and
                  OFFICER PETER ZAMPINI, individually,

                          Defendants.
                  ~~~~~~~~~~~~~~~---/

                                                    CIVIL ACTION SUMMONS
                  THE STATE OF FLORIDA:
                  To Each Sheriff of the State:

                  YOU ARE COMMANDED to serve this summons and a copy of the Complaint, in this action on
                  Defe11dant:

                                                    City of Boynton Beach
                                              By Serving: Mayor Steven B. Grant
                                                  100 E. Boynton Beach.Blvd.
                                                Boynton Beach, FL 33435-0310
                  The Defendant is required to serve written defeuses to the Complaint on

                                                    Richard D. Schuler, Esquire
                                                    Schuler, Halvorson, Weisser, Zoe1Ier & Overbeck, P.A.

                  attorney for Plaintiff, whose address is:

                                                                     1




FILED: PALM BEACH COUNTY, FL, SHARON R. BOCK, CLERK, 04/10/2018 02:26:50 PM
      Case 9:18-cv-80576-RLR Document 1-1 Entered on FLSD Docket 05/03/2018 Page 15 of 33
.,.




                                           Barristers Building, Suite 4D
                                           1615 Forum Place        ·
                                           West Palm Beach, FL 33401
                                           (561) 689-8180
                                           E-Serve: rschuler@shw-law.com
                                                    jdever@shw-law.com
                                                    jspano@shw-law.com


            within 20 days after service of this summons on that Defendant, exclusive of the day of service, and
            to file the original of the defenses with the clerk of this court either before service on the above-
            named attorney or immediately thereafter. If the Defendant fails to do so, a default will be entered
            against the Defendant for the relief demanded in the Complai~t.

                   DATED on _ _ _ _ _ day of                Apr 11 2018              .2018.

                                                  Clerk of the Court

                                                   ~~-
                                                  As:
                                                   Deputy Clerk SHANNON FATU




                                                             2
   Case 9:18-cv-80576-RLR Document 1-1 Entered on FLSD Docket 05/03/2018 Page 16 of 33
Filing# 71334515 E-Filed 04/27/2018 10:57:07 AM
                                       VERIFIED RETURN OF SERVICE

       State of Flotlda                               County of Palm Beach                                      Circuit Court
       Case Number: 002018CA00426 MB

       Plaintiff:
       HARVEYGARBER, M.O.
                                                                                       Ill Ill Illlll llllllllllllllllllllll Ill
                                                                                                 MLS2018001525
       vs.
       Defendant:
       CITY OF BOYNTON BEACH, JEFFREY KATZ, AS CHU:F OF POLICE OF
       BOYNTON SEACH POLICE DEPAA'rMENT, ANO OFFICERJANELLE
       JUMELLES, !NPMD\JAL.LY; OFFICER EVAN ESTEVES, INDIVIOUAL.LY,
       OFFICERJOHN ,DUNLOP, INOIVIOUALLY1 ANO OFFICER PETER
       ZAMPfNl, INOlVIPUALLY

       For: Richtird D, Schuler
            SCHULER, HALVORSON & WEISSER, PA

       Received by MULBERRY LEGAL SERVICES, lNC. on the i2th day of April, 2018 at4:08 pm to be served on
       JEFFREY KATZ, CHIEF OF POLIC.E, 316 KARL LINN. DR., APT.1221 NORTH CHESTERf.lEL13c VA.23225. I.
         '::l"A,MC.!ii . AVi.df..f'SIV\ , being duly sworn, deposeandsaythatonthe 2.D dayof-!J'4)t1t . , 20 ts>
        at~:~q A:m., execu~ed service by (.!ellverln9 a true copy of th~ SUMMONS; COMPLAINT ANQ DEMAND FOR
       JURY TRIAL; In accordance with state statutes In the manner marked below:
       (4DtVIDUAL SERVICE: Served the within-named person.

       ( ) SUBSTITUTE SERVICE: By serving            ._ _ _ _ _ _ _ as


       ( } P0$TED SERVICE: After attempting service 011 -·_i_. a t _ and on _1~-- at ............... to a conspicuous
       place on the property described hereln.

       ( ) POSTED SERVICE: By posting to a conspicuous place on the proparty.

       ( ) OTHER SERVICE: As described in ihe Comments below by serving_


       ( ) NON SERVICE: For the reason detailed ln the Comments below.


       COMMENTS:
Case 9:18-cv-80576-RLR Document 1-1 Entered on FLSD Docket 05/03/2018 Page 17 of 33


                   VERIFIED RETURN OF SERVICE for 502018CA00426 MB
    l certify that l have no interest In the above action, am oflega! age and have proper authority in the jurlsdlctkm ln
    which this SE!rvice was made.




                                                                   PROCESS SERVER#            N\ ~
                                                                   AppQinted in accordance with State Statutes
          Case 9:18-cv-80576-RLR Document 1-1 Entered on FLSD Docket 05/03/2018 Page 18 of 33
-        CASE NUMBER: 502018CA004260XXXXMB Division: AA ****
    ·~      .,~,                   .                           -~   -   4

    ~    .Filing"#70369451E-Filed04/06/2018 03:15:02 PM


                   IN THE CIRCUIT COURT OF THE
                   FIFTEENTHJUDIClAL CIRCUIT
                   IN AND FOR PALM BEACH COUNTY
                   FLORIDA

                   CASE NO.:

                   HARVEY GAR.BER, M.D.,
                           Plaintiff,

                   v.
                   ClTY OF BOYNTON BEACH, JEFFREY KATZ,
                   as CHIEF OF POLICE OF BOYNTON BEACH
                   POLICE DEPARTMENT, and
                   OFFICER JANELLE JUMELLES, individually,
                   OFFICER EVAN ESTEVES, individually,
                   OFFICER JOHN DUNLOP, individually, and
                   OFFICER PETER ZAMPINI, individually,
                           Defendants,
                   ~~~~~~---~~~~~~___..__,/

                                                    CML ACTION SUMMONS
                   THE STATE OF FLORIDA:
                   To Each Sheriff of the State:

                   YOU ARE COMMANDED to serve this summons and a copy of the Complain4 in this action on
                   Defendant:

                                                   Jeffrey Katz,.Cliiefof Police
                                                Boyµton Beach Police Departme11t
                                                  100 East Boynton Beach Blvd.
                                                 Boynton Beach, FL 33435-0310
                   The Defendant is required to serve written defenses to the complaint on

                                                   Richard D. Schuler, Esquire
                                                   Schuler, Halvorson, Weisser, Zoeller & Overbeck, P.A.

                   attorney for Plaintiff, whose address is:

                                                                        1




FILED: PALM BEACH COUNTY, FL, SHARON R BOCK, CLERK, 04/06/2018 03:15:02 PM
Case 9:18-cv-80576-RLR Document 1-1 Entered on FLSD Docket 05/03/2018 Page 19 of 33




                                     Banisters Building, Suite 4D
                                     1615 Fonun Place
                                     West Palm Beach, FL 33401
                                     (561) 689-8180
                                     E-Serve: rschuler@shw-law.com
                                               jdever@shw-law.com
                                               jspano@shw-law.com


      within 20 days after service of this summons on that Defendant, exclusive ofthe day of service, and
      to file the original of the defenses with the clerk of this court either before service on the above·
      named attorney or immediately thereafter. If the Defendant fails to do so, a default will be entered
      against the Defendant for the relief demanded in the Complaint.
             DATEDon. Apr10201B dayof _ _ _ _ _ _ _ _.•2018.

                                            ClerkoftheCoJJrt .          ~

                                                   ~~-
                                            As:     Deputy Clerk
                                                     Samquishia Lane




                                                       2
   Case 9:18-cv-80576-RLR Document 1-1 Entered on FLSD Docket 05/03/2018 Page 20 of 33
Filing #70928671E-Filed04/19/2018 09:02:35 AM
                                       VCf'\lrlCU n.1:.1 Uf'\1'1 v r OCf'\Yl\;C


     State. of Florida                                       County of Palm Beach                                                           Circuit Court

     Case Number: 502018CA00426 MB

     Plaintiff:
     HARVEY GARBER, M.O.
                                                                                                                                llll III llllIIll II IIIll Ill
                                                                                                                 II IIll IlllllMLS2018001524
     vs.
     Defendant
     CITY OF BOYNTON BEACH, JEFFREY KATZ, A,S CHIEF OF POLICE OF
     BOYNTON BEACH POLICE DEPARTMENT, ANO OFFICER JANELLE
     JUMELLES~ INDIVIDUALLY, OFFICER EVAN ESTEVES, lNDIVlDUALLY,
     OFFICER JOHN DUNLOP, INDIVIDUALLY, AND OFFICER PETER
     ZAMPINI, INDIVIOUALLY

     For:
     Richard D. Schuler
     SCHULER, HALVORSON & WEISSER, P.A.
     1615 Forum Place
     4th Floor
     West Palm Beach, r=L 33401

     Received by MULBERRY LEGAL SERVICES, INC. on the 12th day of April, 2018 at 4:08 pm to be served on
     OFFICER JANELLE JUMELLES @BOYNTON BEACH POLICE DEPARTMENT, 100 EAST BOYNTON BEACH
     BLVD., BOYNTON BEACH, FL 33435.

     I, Ronald Jobst, do hereby affirm that on the 13th day of April, 2018 at 2:26 pm, I:

     SERVED the within named Law Enforcement Officer by delivering a true copy of the SUMMONS: COMPLAINT
     AND DEMAND FOR JURY TRIAL; With the date and hour endorsed thereon by me to DEANNA RICHARDSON
     as Liaison of the.BOYNTON BEACH POLICE DEPARTMENT .

     Military Status: Based upon inquiry of party served, the subject is not in the military servlce of the United States of
     America.

     Description of Person Served: Age: 36, Sex: F, Race/Skin Color: WHITE, Height: 5'6", Weight: 165, Hair:
     BROWN, Glasses: N                                                        .

     I certify that I am over the age of 18, have no interest in the above action, and am a Certified Process Server, in
     good standing, in the judicial circuit in which the process was served. Under penalty of perjury, I deClare that I have
     read the foregoing document, and that the facts stated in it are true. NO NOTARY REQUIRED PURSUANT TO
     F.S. 92.525(2),                                             .




                                                                                 CPS#1684

                                                                                 MULBERRY LEGAL SERVICES, INC.
                                                                                 2101 Vista Parkway
                                                                                 Suite 103
                                                                                 West Palm Beach; FL 33411
                                                                                 (561) 624-0526
                                                                                 Our Job Serial Number: MLS-2018001524


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     Case 9:18-cv-80576-RLR Document 1-1 Entered on FLSD Docket 05/03/2018 Page 21 of 33
****CASE NlJMBER: 502018CA004260XXXXMB Division: AA ****

    Filing# 70369451E--Filed04/06/2018 03:15:02 PM


            IN nm CIRCUIT COURT OF THE
            FlFfEENTH JUDICJAL CIRCUIT
            IN AND FOR PALM BEACH COUNTY
            FLORIDA

            CASE NO.:

            HARVEY GARBE~ M.D.,

                    Plaintiff>
            v.
            CITY OF HOWTON BEACH, JEFFREY KATZ,
            as CHIEF OF POLICE OF BOYNTON BEACH
            POLICE DEPARTMENT, and
            OFFICER JANELLE JUMELLES, individually,
            OFFICER EVAN ESTEVES, individually,
            OFFICER JOHN DUNLOP, individually, and
            OFFlCERPETER ZAMPINit individually,

                    Defendants.


                                             CIVIL ACTION SUMMONS
            TilE STATE OF FLORIDA:
            To Each Sheriff ofthe State:

            YOU ARE COMMANDED to serve this summons and a copy of the Complaint, in this action on
            Defendant:
                                              Officer Janelle Jumelles
                                          Boynton Beach Police Department
                                           100 East Boynton Beach Blvd.
                                           Boynton Beach, FL 33435..0310
            The Defendant is required to serve written defenses to the Complaint on

                                            Richard D. Schuler, Esquire
                                            Schuler, Halvorson; Weisser, Zoeller & Overbeck, P.A.

            attorney for Plaintiff, whose address is:

                                            Barristers Building, Suite 4D
                                                              1




FILED: PALM BEACH COUNTY, FL, SHARON R BOCK, CLERK, 04/06/2018 03:15:02 PM
Case 9:18-cv-80576-RLR Document 1-1 Entered on FLSD Docket 05/03/2018 Page 22 of 33




                                     161 S Forum Place
                                     West Palm Beach, FL 33401
                                     (561) 689-8180
                                     E-Serve: rschuler@shw-law.com
                                               jdever@shw-law.com
                                               ispano@shw-law.com


      within 20 days after service of this summons on that Defendant, exclusive of the day of service, and
      to file the original of the defenses with the clerk of this court either before service on the above-
      narned attorney or immediately thereafter. If the Defendant fails to do so, a default will be entered
      against the Defendant for the relief demanded in the Complaint
             DATEDon Apr102018 dayof_ _ _ _ _ _ _ _.•2018.

                                            Clerk of the Court
                                                           .   -   -~/.)_   ~
                                                     ~~---
                                            As:     Deputy Clerk
                                                      Samquishia Lane




                                                       2
   Case 9:18-cv-80576-RLR Document 1-1 Entered on FLSD Docket 05/03/2018 Page 23 of 33
Filing# 70928671E-Filed04/19/2018 09:02:35 AM
   ·--~




          State of Florida                                         County of Palm Beach                                                           Circuit Court

          Case Number: 502018CA00426 MB

          Plaintiff:
          HARVEY GARBER, M.O.
                                                                                                                        Ill Ill Illlll llllllll llll IllllllIII Ill
                                                                                                                                   MLS2018001523
          vs.
          Defendant:
          CITY OF BOYNTON BEACH, JEFFREY KATZ, AS CHIEF OF POLIC.EOF
          BOYNTON BEACH POLICE DEPARTMENT, AND OFFICER JANELLE
          JUMELLES, fNDIVIDUALLY, OFFICER EVAN ESTEVES, INOIVIDUALLY,
          OFFICER JOHN DUNLOP, INDIVIDUALLY, AND OFFICER PETER
          ZAMPINI, INDIVIDUALLY

          For:
          Richard D. Schuler
          SCHULER, HALVORSON & WEISSER, P.A.
          1615 Forum Place
          4th Floor
          West Palm Beach, FL 33401

          Received by MULBERRY LEGAL SE:RVICES, INC. on the 12th day of April, 2018 at4:08 pm to be served on
          OFFICER EVAN ESTEVES@ BOYNTON BEACH POLICE DEPARTMENT, 100 EAST BOYNTON BEACH BLVD.,
          BOYNTON BEACH, Ft 33435.

          I, Ronald Jobst, do hereby affirm that on the 13th day of April, 2018 at 2:26 pm, I:

          SERVED the within named Law Enforcement Officer by delivering a true copy of the SUMMONS; COMPLAINT
          AND DEMAND FOR JURY TRIAL; wlth the date and hour endorsed thereon by me to DEANNA RICHARDSON
          as Liaison of the BOYNTON BEACH POLICE DEPARTMENT ,

          Military Status; Based upon inquiry of party served, the subject is not ih the military service of the United States of
          America.

          Description of Person Served: Age: 36, Sex: F, Race/Skin Color: WHITE, Height: 5'6", Weight: 165, Hair:
          BROWN, Glasses; N

          I certify that l am over the age of 18, have no interest in the above action, and am a Certified Process Server, in
          good standing,· in the judicial circuit in which the process was served. Under penalty of perjury1 I declare that I have
          read the foregoing document, and that the facts stated In it are true. NO NOTARY REQUIRED PURSUANT TO
          F.S. 92.525(2).




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      Case 9:18-cv-80576-RLR Document 1-1 Entered on FLSD Docket 05/03/2018 Page 24 of 33
**** CASE NUMBER: 502018CA004260XXXXMB Division: AA ****
  T      ~




      Filing# 70369451E-Filed04/06/2018 03:15:02 PM


              IN THE CIRCUIT COURT OF THE
              FIFTEENTH JUDICIAL CIRCUIT
              IN AND FOR PALM BEACH COUNTY
              FLORIDA

              CASE NO.:

              HARVEY GARBER, M.D.;
                     Plaintiff,

              v.
              CITY OF BOYNTON BEACH, JEFFREY KATZ,
              as CHIEF OF POLICE OF BOYNTON BEACH
              POLICE DEPARTMENT, and
              OFFICER JANELLEJOMELLES, individually,
              OFFICER EVAN ESTEVES, individually,
              OFFICER JOHN DUNLOP, individually, and
              OFFICER PETERZAMPINI, individually,

                     Defendants.
                                                                      I

                                               CML ACTION SUMMONS
              THE STATE OF FLORIDA:
              To Each Sheriff of the State:

              YOU ARE COMMANDED to serve this summo1lS and a copy of the Complaint, in this action on
             Defendant:
                                                 Officer Evan Esteves
                                           Boynton Beach Police Department
                                             100 East Boynton Beach Blvd.
                                            Boynton Beach, FL 33435-0310
             The Defendant is required to serve written defenses t() the Complaint on

                                              Richard D.Schuler, Esquire
                                              Schuler, Halvorson, Weisser, Zoeller & Overbeck, P.A

             attorney for Plaintiff, whose address is:

                                              Barristers Building, Suite 4D
                                                                1




FILED: PALM BEACH COUNTY, FL, SHARON R BOCK, CLERK, 04/06/2018 03:15:02 PM
Case 9:18-cv-80576-RLR Document 1-1 Entered on FLSD Docket 05/03/2018 Page 25 of 33




                                     1615 Forum Place
                                     West Palm Beach, FL 33401
                                     (561) 689-8180
                                     E-Serve: rschuler@shw-law.com
                                               jdever@shw-law.com
                                              jspano@shw-law.com


      within 20 days after service of this summons on that Defendant, exclusive of the day of service, and
      to file the original of the defenses with the clerk of this court either before service on the above-
      named attorney or immediately thereafter. If the Defendant fails to do so, a default will be entered
      against the Defendant for the relief demanded in the Complaint.
             DATEDon Apr10 201B dayof _ _ _ _ _ _ _ _. 2018.

                                            Clerk of th~ Co~ __         ~
                                                   ~~-
                                            As:     Deputy Clerk
                                                      Samquishia Lane




                                                       2
   Case 9:18-cv-80576-RLR Document 1-1 Entered on FLSD Docket 05/03/2018 Page 26 of 33
Filing# 70928671E-Filed04/19/2018 09:02:35 AM
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     State of Florida                                        County of Palm Beach                                                       Circuit Court

     Case Number: 502018CA00426 MB

     Plaintiff:
     HARVEY GARBER, M.D.
                                                                                                                              lllllll IllllIllIllII IIll
                                                                                                               II IIll IlllllMLS2018001522
     vs.
     Defendant:
     CITY OF BOYNTON BEACH, JEFFREY KATZ, AS CHIEF OF POLICE OF
     BOYNTON BEACH POLICE DEPARTMENT, AND OFFICER JANELLE
     JUMELLES, INDIVIDUALLY, OFFICER EVAN ESTEVES, INDIVlDUALLY,
     OFFICER JOHN DUNLOP, INDIVIDUALLY, AND OFFICER PETER
     ZAMPINI, INDIVIDUALLY

     For:
     Richard D. Schuler
     SCHULER, HALVORSON &WEISSER, P.A.
     1615 Forum Place
     4th Floor
     West Palm Beach, FL 33401

     Received by MULBERRY LEGAL SERVICES, INC. on the 12th day of April, 2018 at 4:08 pm to be served on
     OFFICER JOHN DUNLOP@ BOYNTON BEACH POLICE DEPARTMENT, 100 EAST BOYNTON BEACH BLVD.;
     BOYNTON BEACH, FL 33435.

     I, Ronald Jobst, do hereby affirm thaton the 13th day of April, 2018 at 2:26 pm, I:

     SERVED the within named Law Enforcement Officer by delivering a true copy of the SUMMONS; COMPLAINT
     AND DEMAND FOR JURY TRIAL; with the date and hour endorsed thereon by me to DEANNA RICHARDSON
     as Liaison of the BOYNTON BEACH POLICE DEPARTMENT .

     Military Status: Based upon inquiry of party served, the subject is nofin the military service of the United States of
     America.

     Description of Person Served: Age: 36, Sex: F. Race/Skin Color: WHITE. Height: 5'6", Weight: 165, Hair:
     BROWN, Glasses: N

     I certify that I am over the age of 18, have no interest in the above action, and am a Certified Process Server, in
     good standing, in the judicial circuit in which. the process was served. Under penalty of perjury, I declare that I have
     read the foregoing document, and thatthe facts stated in it are true. NO NOTARY REQUIRED PURSUANT TO
     ES. 92.525(2).




                                                                                CPS#1684

                                                                                MULBERRY LEGAL SERVICES, INC.
                                                                                2101 Vista Parkway
                                                                                SUite 103
                                                                                West Palm Beach, FL 33411
                                                                                (561) 624-0526                 .
                                                                                Our Job Serial Number: MLS~2018001522


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    Case 9:18-cv-80576-RLR Document 1-1 Entered on FLSD Docket 05/03/2018 Page 27 of 33
****CASE NUMBER: 502018CA004260XXXXMB Division: AA****

   , Filing# 70369451 E-Filed 04/06/2018 03:15:02 PM


             IN THE CIRCUlT COURT OF THE
             FIFTEENTH JUDICIAL CIRCUIT
             IN AND FOR PALM BEACH COUNTY
             FLOIUDA

            CASE NO.:

             HARVEY GARBER,M.D.;

                    Plaintiff,

             v.
            CITY OF BOYNTON BEA.CH, JBFFREYKATZ,
            as CHIEF OF POUCBOF BOYNTON BEACH
            POLICE DEPARTMENT, and
            OFFICER JANELLE JUMELLBS, individually,
            OFFICER EVAN ESTEVES, individually,
            OFFICER JOHN DUNLOP, individually, and
            OFFICER PETER ZAMPlNI, individually,

                    Defenqants.
            ~~~~~~~~~~~~~~~'

                                             CIVIL ACTION SUMMONS
            THE STATE OF FLORIDA:
            To Each Sheriff ofthe State:

            YOU ARE COMMANDED to serve this summons and a copy of the Complaint, in this action on
            Defendant:
                                              Officer John Dunlop
                                          Boynton Beach Police Department
                                            100 East Boynton Beach Blvd.
                                           Boynton Beach, FL 33435-0310
            The Defendant is required to serve written defenses to the Complaint on

                                            RichardD.Schuler, Esquire
                                            Schuler, Halvorson; Weisser, Zoeller & Overbeck, P.A.

            attorney for Plaintiff. whose address is:

                                            Banisters Building. Suite 40
                                                           ·l




FILED: PALM BEACH COUNTY, FL, S_HARON R BOCK, CLERK, 04/06/2018 03:15:02 PM
Case 9:18-cv-80576-RLR Document 1-1 Entered on FLSD Docket 05/03/2018 Page 28 of 33




                                     1615 Forum Place
                                     West Palm Beach, FL 33401
                                     (561) 689·8180
                                     E-Serve: rschuler@shw·law.com
                                              jdever@shw-law.com
                                              js.pano@shw-law.com


      within 20 days after service of this summons on that Defendant, exclusive of the day of service, and
      to file the original of the defenses with the clerk of this court either before service on the above-
      named attorney or immediately thereafter. If the Defendant fails to do so, a default will be entered
      against the Defendant for the relief demanded in the Complaint.
             DATED on        Apr 10 201 Bday of __________.2018.

                                            Clerk of the Court
                                                       ..          ·~~--~
                                                     ~~.
                                            As:     Deputy Clerk
                                                       Samquishia Lane




                                                       2
       Case 9:18-cv-80576-RLR Document 1-1 Entered on FLSD Docket 05/03/2018 Page 29 of 33
**** CASE NUMBER: 502018CA004260XXXXMB Division: AA ****
                         '

    Filing# 70369451E-Filed04/06/2018 03:15:02 PM


            IN THE CIRCUIT COURT OF THE
            FIFTEENTH JUDICIAL CIRCUIT
            IN AND FOR PALM BEACH COUNTY
            FLORIDA

            CASE NO.:

            HARVEY GARBER, M.D.,

                    Plaintiff,

            v.
            CITY OF BOYNTON BEACH> JEFFREY KATZ,
           as CHIEF OF POLICE OF BOYNTON BEACH
           POLICE DEPARTMENT, and
           OFFICER JANELLE JUMELLES, individually,
           OFFICER EVAN ESTEVES, individually,
           OFFICER JOHN DUNLOP. individually, and
           OFFICER PETER ZAMPINI, individually.

                   Defendants.
           ~~~--~~~~~~~~~~-ii

                                            CML ACTION SUMMONS
           THE STATE OF FLORIDA:
           To Each Sheriff of the State:

           YOU ARE COMMANDED to serve this summons and a copy of the Complaint, in this action on
           Defendant:
                                             Officer Joh~ Dunlop
                                         Boynton Beach Police Department
                                          ·100 East Boynton Beach Blvd.
                                          Boynton Beach, FL 33435-0310
           The Defendant is required to serve written defetlSes to the Complaint on

                                           Richard D. Schuler, Esquire
                                           Schuler, Halvorson, Weisser, Zoeller & Overbeck, P.A.

           attorney for Plaintiff. whose address is:

                                           Barristers Building, Suite 4D
                                                           . l




:1LED: PALM BEACH COUNTY, FL, SHARON R BOCK, CLERK, 04/06/2018 03:15:02 PM
Case 9:18-cv-80576-RLR Document 1-1 Entered on FLSD Docket 05/03/2018 Page 30 of 33




                                     1615 Forum Place
                                   · West Palm Beach, FL3340l
                                     (561) 689-8180
                                   . E-Serve: rschuler@shw~law.com
                                              idever@shw-law.com
                                              jspano@shw-law.com


     within 20 days after service of this sununons on that Defendant, exclusive of the day of service, and
     to file the original of the defenses with the clerk ofthis court either before service on the above-
     named attorney or immediately thereafter. If the Defendant fails to do so, a default will be entered
     against the Defendant for the relief demanded in the Complaint.
            DATED on        Apr 10 2018day of _ _ _ _ _ _ _ _.2018.

                                           Clerk of the Court
                                                    ~~~~
                                           As:     Deputy Clerk
                                                      Samquishia Lane




                                                     2
   Case 9:18-cv-80576-RLR Document 1-1 Entered on FLSD Docket 05/03/2018 Page 31 of 33
Filing# 70928671 E-Filed 04/19/2018 09:02:35 AM
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     State of Florida                                          County of Palm Beach                                                              Circuit Court

     Case Number: 502018CAQ0426 MB

     Plaintiff:
     HARVEY GARBER, M.D.
                                                                                                                     II IIll Illlll llll Illllll IIll II II II I
                                                                                                                                 MLS2018001521
                                                                                                                                                                   Ill
     vs.
     Defendant:
     CITY OF BOYNTON BEACH, JEFFREY KATZ, AS CHIEF OF POLICE OF
     BOYNTON BEACH POLICE DEPARTMENT, ANO OFFICER JANELLE
     JUMELLES, INDIVIDUALLY, OFFICER EVAN ESTEVES, INDIVIDUALLY,
     OFFiCER JOHN DUNLOP, INDIVIDUALLY, AND OFFICER PETER
     ZAMPINI, INDIVIOUALLY

     For:
     Richard D. Schuler
     SCHULER, HALVORSON & WEISSER, P.A.
     1615 Forum Place
     4th Floor
     West Palm Beach, FL 33401

     Received by MULBERRY LEGAL SERVICES, INC. on the 12th day of April, 2018 at 4:08 pm to be served on
     OFFICER PETER ZAMPINI@ BOYNTON BEACH POLICE DEPARTMENT, 100 EAST BOYNTON BEACH BLVD.,
     BOYNTON BEACH, FL 33435.

     I, Ronald Jobst, do hereby affirm thal on the 13th day of April, 2018 at 2:26 pm, I:

     SERVED the within named Law Enforcement Officer by delivering a true copy of the SUMMONS; COMPLAINT
     AND DEMAND FOR JURY TRIAL; with the date and hour endorsed thereon by me to DEANNA RICHARDSON
     as Liaison of the BOYNTON BEACH POLICE DEPARTMENT .

     Military Status: Based upon inquiry of party served, the subject is not in the military service of the United States of
     America.

     Description of Person Served: Age: 36, Sex: F, Race/Skin Color: WHITE, Height: 5'6", Weight: 165, Hair:
     BROWN, Glasses: N                .

     I certify that I am over the age of 18, have no interest in the above action, and arn a Certified Process Server, in
     good standing, in the judicial circuit ih which the process was served. Under penalty of perjury, I declare that I have
     read the foregoing document, and that the facts stated in it are true. NO NOTARY REQUIRED PURSUANT TO
     F.S. 92.525(2)~




                                                                                   CPS#1684

                                                                                   MULBERRY LEGAL SERVICES, INC.
                                                                                   2101 Vl!;ta Parkway
                                                                                   Suite 103
                                                                                   West Palm Beach, FL 33411
                                                                                   (561) 624-0526
                                                                                   Our Job Serial Number: MLS-2018001521


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      Case 9:18-cv-80576-RLR Document 1-1 Entered on FLSD Docket 05/03/2018 Page 32 of 33
**** GASE j'JUMBER; 502018CA004260XXXXMB Division: AA ****

    Filing# 70369451E-Filed04/06/2018 03:15:02 PM


            IN THE CIRCUIT COURT OF THE
            FIFTEENTH JUDICIAL CIRCUIT
            IN AND FOR PALM BEACH COUNTY
            FLOR1DA

            CASE NO.:

            HARVEY GARBER, M.D.,
                   Plaintiff,

            v.
            CITY OF BOYNTON BEACH, JEFFREY KATZ,
            as CHIEF OF POLICE OF BOYNTON BEACH
            POLICE DEPAR1MENT, and
            OFFICER JANELLE JUMELLES, individually,
            OFFICER EVAN ESTEVES, individually,
            OFFICBRJOHN DUNLOP, individually, and
            OFFICER PETERZAMPlNI, individually,

                   Defendants.
            ~~~~~------------~------------~~--'
                                             CML ACTION SUMMONS
            THE STATE OF FLORIDA:
            To Each Sheriff of the State:

            YOU ARE COMMANDED to serve this summons and.a copy of the Complaint, in this action on
            Defendant:
                                                Officer Peter Zampini
                                         Boynton Beach Police Department
                                          100 East Boynton Beach Blvd.
                                          Boynton Beacht FL33435-0310
           The Defendant is required to serve written defenses to the CompJaipt on

                                            Richard D. Schuler, Esquire
                                            Schuler, Halvorson, Weisser, Zoeller & Overbeck, P.A.

           attorney for Plaintiff. whose address is:

                                            Barristers Building, Suite 4D
                                                              1




FILED: PALM BEACH COUNTY, FL, SHARON R BOCK, CLERK, 04/06/2018 03:15:02 PM
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                                    1615 Forum Place
                                    West Palm Beach, FL 33401
                                    (561) 689-8180
                                    &.Serve: rschuler@shw-law.com
                                             jdever@shw-law.com
                                             jspano@shw-law.com


     within 20 days after service of this swnmons on that Defendant, exclusive of the day of service, and
     to file the original of the defenses with the clerk of this court either before service on the above-
     named attorney or immediately thereafter. If the Defendant fails to do so, a default will be entered
     against the Defendant for the relief demanded in the Complaint.

            DATED on Apr 10 2018 day of                                       .2018.

                                           Clerk of the Cmtrt    \~_ • ~
                                                   -h~
                                           As:     Deputy Clerk
                                                       Samquishia Lane




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